             Case 2:22-cr-00012-DPM Document 3 Filed 05/03/22 Page 1 ofu 3            FILED
                                                                            EAsrE°&;Pd~lr~ftrcouRr
                                                                                        r          ARKANSAS

                                                                                        0 3 2022
                      IN THE UNITED STATES DISTRICT COURT By:T.                             ..,.
                         EASTERN DISTRICT OF ARKANSAS
                                 DELTA DIVISION                                                     ore;; CLERK


UNITED STATES OF AMERICA                          )      No. 2:22CR (JX) \~      \)rM
                                                  )
vs.                                               )      18 U.S.C. § 922(g)(l)
                                                  )
JARVIS PIPPEN, and                                )
AUBREY BELL                                       )

                                      INDICTMENT

       THE GRAND JURY CHARGES THAT:

                                         COUNT 1

       A.       On or about March 3, 2022, the defendant,

                                     JARVIS PIPPEN,

had previously and knowingly been convicted of one or more of the following crimes

punishable by a term of imprisonment exceeding one year:

                1.    Residential Burglary, in Phillips County, Arkansas, Circuit Court in

                      Case Number 54 CR 2012-43; and

                2.    Robbery and Possession with Intent to Deliver a Controlled

                      Substance, in Phillips County, Arkansas, Circuit Court in Case

                      Number 54 CR 2013-45.

      B.        On or about March 3, 2022, in the Eastern District of Arkansas, the

defendant,

                                     JARVIS PIPPEN,

knowingly possessed, in and affecting commerce, one or more of the following firearms:

                                              1
            Case 2:22-cr-00012-DPM Document 3 Filed 05/03/22 Page 2 of 3




               1.     a Glock, 43X, 9mm semi-automatic firearm, bearing serial number

                      BUEC211; and

               2.     a Springfield Armory, XDM Elite, 9mm semi-automatic firearm,

                      bearing serial number BA332525 .

       All in violation of Title 18, United States Code, Section 922(g)(l ).

                                        COUNT 2

       A.      On or about March 3, 2022, the defendant,

                                     AUBREY BELL,

had previously and knowingly been convicted of one or more of the following crimes

punishable by a term of imprisonment exceeding one year:

               1.    Possession of a Controlled Substance, in Phillips County, Arkansas,

                      Circuit Court in Case Number 54 CR 2012-81;

               2.     Battery in the Second Degree, in Yell County, Arkansas, Circuit

                      Court in Case Number 75 SCR 2014-75; and

               3.     Possession of a Controlled Substance with Intent to Deliver, in

                      Lonoke County, Arkansas, Circuit Court in Case Number 43 CR

                      18-167.

       B.      On or about March 3, 2022, in the Eastern District of Arkansas, the

defendant,

                                    AUBREY BELL,

knowingly possessed, in and affecting commerce, a fireann, that is: a Springfield


                                             2
            Case 2:22-cr-00012-DPM Document 3 Filed 05/03/22 Page 3 of 3




Armory, XD-9, Model 24.0, 9mm semi-automatic firearm, bearing serial number

GM77 5718, in violation of Title 18, United States Code, Section 922(g)( 1).

                           FORFEITURE ALLEGATION 1

       Upon conviction of the offense alleged in Count 1 of this Indictment, the

Defendant, JARVIS PIPEN, shall forfeit to the United States pursuant to Title

18, United States Code, Section 924(d), Title 21, United States Code, Section 853, and

Title 28, United States Code, Section 246l(c), all firearms and ammunition involved in

the commission of the offense, including but not limited to, the following specific

property:

               1.    a Glock, 43X, 9mm semi-automatic firearm, bearing serial number

                     BUEC211; and

              2.     a Springfield Armory, XDM Elite, 91mn semi-automatic firearm

                     bearing serial number BA332525.

                           FORFEITURE ALLEGATION 2

       Upon conviction of the offense alleged in Count 1 of this Indictment, the

Defendant, AUBREY BELL, shall forfeit to the United States pursuant to Title

18, United States Code, Section 924(d), Title 21, United States Code, Section 853, and

Title 28, United States Code, Section 2461 (c), all firearms and ammunition involved in

the commission of the offense including but not limited to, the following specific

property: a Springfield Armory, XD-9, Model 24.0, 9mm semi-automatic firearm,

bearing serial number GM775718.



                                             3
